   Case -1:21-cv-00072-RLY-MJD
Summary   MyCase               Document 1-2 Filed 01/12/21 Page 1 of 31 PageID
                                                                          Page 1#:of63


                           This is not the official court record. Official records of court proceedings may only be
                           obtained directly from the court maintaining a particular record.


 Janice Walters v. Sam's East, Inc., d/b/a Sam's Club
  Case Number              49D13-2007-CT-023665

  Court                    Marion Superior Court, Civil Division 13

  Type                     CT -Civil Tort

  Filed                    07/16/2020

  Status                   07/16/2020 ,Pending (active)


  Parties to the Case
  Defendant Sam's East, Inc., d/b/a Sam's Club
      Address                 c/o CT Corporation System
                              334 North Senate Avenue
                              Indianapolis, IN 46204
      Attorney                Thomas L Davis
                              #442349, Retained
                              FROST BROWN TODD LLC
                              201 North Illinois Street -Suite 1900
                              Indianapolis, IN 46204
                              317-237-3800(W)

  Plaintiff     Walters, Janice
      Attorney                Daniel Gore
                              #3732253, Retained
                              104 S. Franklin Road
                              Bloomington, IN 47404
                              812-332-9451(W)


 Chronological Case Summary
  07/16/2020 Case Opened as a New Filing

  o~i~~i2ozo       Complaint/Equivalent Pleading Filed
               Complaint for Damages
               Filed By:              Walters, Janice
               File Stamp:            07/16/2020

  o~i~~izozo       Appearance Filed
               Appearance
               For Party.             Walters, Janice
               File Stamp:            07/16/2020

  o~i~~izozo       Subpoena/Summons Filed
               Summons to Sam's East, Inc.
               Filed By:              Walters, Janice
               File Stamp:            07/16/2020




https://public.courts,in.gov/mycase/                                                                                  1/11/2021
   Case 1:21-cv-00072-RLY-MJD
Summary - MyCase              Document 1-2 Filed 01/12/21 Page 2 of 31 PageID #:of7 3
                                                                         Page 2



  08/11/2020       Service Returned Served (E-Filing)
               Return of Service for Sam's East

               Filed By:             Walters, Janice
               File Stamp:           08/11/2020

  08/14/2020       Appearance Filed
               E-Filing Appearance by Attorney in Civil Case

               For Party:            Sam's East, Inc., d/b/a Sam's Club
               File Stamp:           08/14/2020

  08/14/2020       Answer Filed
               Defendant's Answer to Plaintiff's Complaint

               Filed By:             Sam's East, Inc., d/b/a Sam's Club
               File Stamp;           08/14/2020

  osi~~izo2o       Order Issued
               Order to Confer and Tender Proposed Case Management Order Issued, Signed Judge James A. coven. See Order for
               details. Parties notified.

               Judicial Officer:     Joven, James A
               Noticed:              Gore, Daniel
               Noticed:              Davis, Thomas L
               Order Signed:         08/17/2020

  o8i~$/zo2o Automated ENotice Issued to Parties
               Order Issued ---- 8/17/2020 : Daniel Gore;Thomas L Davis

  09/24/2020       Witness and/or Exhibit List Filed
               Plaintiff's Preliminary List of Witnesses and Exhibits

               Filed By:             Walters, Janice
               File Stamp:           09/24/2020

  09/30/2020       Case Management Plan
               Judicial Officer:     Mattingly, Kimberly Dean - MAG
               Order Signed:         09/28/2020

  09/30/2020   Hearing Scheduling Activity
               Final PreTrial Conference scheduled for 10/13/2021 at 9:30 AM,

  09/30/2020   Hearing Scheduling Activity
               Jury Trial scheduled for 11/01/2021 at 9.00 AM.

  09/30/2020   Hearing Scheduling Activity
               Jury Trial scheduled for 11 /02/2021 at 9:00 AM.

  10/01/2020   Automated ENotice Issued to Parties
               Case Management Plan ---- 9/30/2020 : Daniel Gore;Thomas L Davis Hearing Scheduling Activity ---- 9/30/2020 : Daniel
               Gore;Thomas L Davis Hearing Scheduling Activity ---- 9/30/2020 : Daniel Gore;Thomas L Davis Hearing Scheduling
               Activity ---- 9/30/2020 ;Daniel Gore;Thomas L Davis

  ~oiosizozo       Witness and/or Exhibit List Filed
               Defendant's Preliminary Witness and Exhibit Lists

               Filed By.             Sam's East, Inc., d/b/a Sam's Club
               File Stamp:           10/08/2020




https://public.courts.in,gov/mycase/                                                                                      1/11/2021
   Case -1:21-cv-00072-RLY-MJD
Summary   MyCase               Document 1-2 Filed 01/12/21 Page 3 of 31 PageID
                                                                          Page 3#:of83


   10/13/2021 Final PreTrial Conference
              Session:         10/13/2021 9:30 AM, Judicial Officer: Mattingly, Kimberly Dean - MAG

  11/01/2021    JuryTrfal
                Session.              11/01/2021 9:00 AM, Judicial Officer: Mattingly, Kimberly Dean - MAG
                Comment:              Day 1 of 2; 3rd Choice

  11/02/2021    Jury Trial
                Session;              11 /02/2021 9;00 AM, Judicial Officer: Mattingly, Kimberly Dean - MAG
                Comment:              Day 2 of 2; 3rd Choice

  Financial Information
  * Financial Balances reflected are current representations of transactions processed by the Clerk's Office, Please note that any
    balance due does not reflect interest that has accrued - if applicable -since the last payment. For questions/concerns regarding
    balances shown, please contact the Clerk's Office.

 Walters, Janice
 Plaintiff
             Balance Due ~asofoii~~i2o2~~
             o.00

             Charge Summary
             rDescription                                                          Amount
                                                                                   157.00
                                                                                                     Credit
                                                                                                     0.00
                                                                                                                      Payment
                                                                                                                      157.00
               Court Costs and Filing Fees

             Transaction Summary
               Date              Description                                       Amount
               07/17/2020        Transaction Assessment                            157,00
               07/17/2020        Electronic Payment                                (157.00)



                           This is not the official court record. Official records of court proceedings may only be
                           obtained directly from the court maintaining a particular record.




https://public.courts. in.gov/mycase/                                                                                          1 / 11 /2021
   Case 1:21-cv-00072-RLY-MJD 49D13-2007-CT-023665
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                                      Marion Superior Court, Civil Division 13                Marion County, Indiai




STATE OF INDIANA            )                             IN THE MARION SUPERIOR COURT
                                SS:
COUNTY OF MARION            )                             CAUSE NO.

JANICE WALTERS

       VS.

JOHN DOE and SAM'S EAST, INC.,
d/b/a Sam's Club


                                COMPLAINT FOR DAMAGES

       Comes now the plaintiff, Janice Walters, by counsel, Ken Nunn Law Office, and for
cause of action against the defendants, John Doe and Sam's East, Inc., d/b/a Sam's Club, alleges
and says:

       1.     That on or about March 3, 2020, as the plaintiff was attempting to retrieve a cart
from the cart corral at the Sam's Club store located at 7235 East 96th Street in Indianapolis,
Marion County, Indiana, an unknown defendant, John Doe, negligently pushed a row of
shopping carts into plaintiff, causing plaintiff to fall and suffer serious injuries.

      2.    That the unknown defendant, John Doe, was in the course and scope of his
employment for the defendant, Sam's East, Inc., d/b/a Sam's Club.

        3.      That the defendant, Sam's East, Inc., d/b/a Sam's Club, is liable for damages to
plaintiff for all negligent acts committed by its unknown employee, John Doe, in the course of
his employment.

       4.     That the plaintiff received permanent injuries as a result of the defendants'
negligence.

      5.     That the plaintiff has incurred medical expenses and other special expenses in an
amount to be proven at the trial of this cause, and will incur future medical expenses, lost
wages, and other special expenses, as a direct and proximate result of defendants' negligence.

       WHEREFORE, the plaintiff demands judgment against the defendants for permanent
injuries in a reasonable amount to be determined at the trial of this cause, for medical expenses
and other special expenses, for future medical expenses, lost wages, and other special expenses,
court costs, and all other proper relief in the premises.
  Case 1:21-cv-00072-RLY-MJD Document 1-2 Filed 01/12/21 Page 5 of 31 PageID #: 10




                                               -2-


                                   KEN NUNN LAW OFFICE


                                   BY:    s/Daniel Gore
                                          Daniel Gore, #31322-53
                                          KEN NUNN LAW OFFICE
                                          104 South Franklin .Road
                                          Bloomington, IN 47404
                                          Phone: (812) 332-9451
                                          Fax: (8 ] 2) 331-5321
                                          E-mail: dgore(a,kennunn.com


                               REQUEST FOR TRIAL BY JU12Y

       Comes now the plaintiff, by counsel, Ken Nunn Law Offce, and requests that this

matter be tried by jury pursuant to Trial Rule 38.

                                   KEN NUNN LAW OFFICE


                                   BY:    s/Daniel Gore
                                          Daniel Gore, #31322-53
                                          KEN NUNN LAW OFFICE
                                          104 South Franklin Road
                                          Bloomington, IN 47404
                                          Phone: (812) 332-9451
                                          Fax: (812) 331-5321
                                          E-snail: dgore(a,kennunn.com


Daniel Gore, #31322-53
Ken Nunn Law Office
104 South Franklin Road
Bloomington, IN 47404
Telephone: 812-332-9451
Fax Number: 812-331-5321
Attorney for Plaintiff
Case 1:21-cv-00072-RLY-MJD 49D13-2007-CT-023fi65
                           Document 1-2 Filed 01/12/21 Page 6 of 31 PageID
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                                  Marion Superior Court, Civil Division 13             Marion County, Indiai




                                  APPEARANCE FORM (CIVIL)
                                                 Initiating Party



        CAUSE NO:


 1.     Name of first initiating party                 Janice Walters




 2.     Tele hone of ro se initiatin       art         NA


 3.     Attorney information (as applicable            Daniel Gore #31322-53
        for service of process)                        Ken Nunn Law Office
                                                       104 South Franklin Road
                                                       Bloomington, IN 47404
                                                       PHONE:        812 332-9451
                                                       FAX:          812 331-5321
                                                       Email: d ore kennunn.com


 4.     Case     e requested                           CT Civil Tort)


 5.     Will acce t FAX service                        YES


 6.     Are there related cases                        NO


 7.     Additional information required by
        State or Local Rules


 Continuation of Item 1 (Names of initiating           NAME:
  arties)                                              NAME:


 Continuation of Item 3 (Attorney information
 as a licable for service of rocess)

                                                  s/Daniel Gore
                                                 Attorney-at-Law
                                                 (Attorney information shown above.)
       Case 1:21-cv-00072-RLY-MJD 49D13-2007-CT-023665
                                  Document 1-2 Filed 01/12/21 Page 7 of 31 PageID   #:7116/2020
                                                                               Filed:   12 7:58 F
                                                                                                                                           Cle
                                               Marion Superior Court, Civil Division 13                                   Marion County, Indiai

                              CIRCUIT/SUPERIOR COURTS FOR THE COUNTY OF MARION
                                               STATE OF INDIANA
                                CITY COUNTY BUILDING, 200 E. WASHINGTON STREET
                                          INDIANAPOLIS, INDIANA 46204
                                             TELEPHONE 317 327-4740
Janice Walters

                                     Plaintiffs)
                   VS,                                                     No.
Sam's East, Inc., d/b/a Sam's Club

                                     Defendants)
                                                            SUMMONS

The State of Indiana to Defendant: Sam's East, Inc., c/o CT Corporation System, 334 North Senate Avenue, Indianapolis,
IN 46204
          You have been sued by the persons) named "plaintiff' in the court stated above.
       The nature of the suit against you is stated in the complaint which is attached to this document. It also states the
demand which the plaintiff has made and wants from you.
         You must answer the complaint in writing, by you or your attorney, within Twenty (20) days, commencing the day
after you receive this summons, or judgment will be entered against you for what the plaintiff has demanded. You have twenty-
three (23) days to answer if this summons was received by mail. Such Answer Must Be Made In Court.
         If you have a claim for relief against the plaintiff arising from the same transaction or occurrence, you must assert it in
your written answer.

        7/17/2020
Date:
                                                                 CLERK, MARION CIRCUIT/SUPERIOR COURTS

DANIEL GORE, #31322-53
ATTORNEY FOR PLAINTIFF
KEN NUNN LAW OFFICE
104 FRANKLIN ROAD
BLOQMINGTON, IN 47404
                                   ACKNOWLEDGMENT OF SERVICE OF SUMMONS

          A copy of the above summons and a copy of the complaint attached thereto were received by me at
this        day of              , 2020.

                                                                           SIGNATURE OF DEFENDANT

PRAECIPE: I designate the following mode of service to be used by the Clerk.

XX        By certified or registered mail with return receipt to above address.

❑         By Sheriff delivering a copy of summons and complaint personally to defendant or by leaving a copy of the summons
          and complaint at his dwelling house or usual place of abode with some person of suitable age and discretion residing
          therein.

D         By               delivering a copy of summons and complaint personally to defendant or by leaving a copy of the
          summons and complaint at his dwelling house or usual place of abode.
❑         By serving his agent as provided by rule, statute or valid agreement, to-wit:                            ~ r-~`—~
                                                                                                                      c,o
                                                                                                                     ~y     urvrr~,
                                                      KEN NUNN LAW OFFICE                                     ~~4~~               ~~
                                                      BY:   s/DANIEL GORE
                                                       ATTORNEY FOR PLAINTIFF                                        CC h 1
     Case 1:21-cv-00072-RLY-MJD Document 1-2 Filed 01/12/21 Page 8 of 31 PageID #: 13

CERTIFICATE OF MAILING: I certify that on the day of                       , 2020, I mailed a copy of this summons and a copy
of the complaint to each of the defendants) by (registered or certified mail requesting a return receipt signed by the addressee
only, addressed to each of said defendants) at the addresses) furnished by plaintiff.

          Dated this _ day of               , 2020.


                                                                           CLERK, MARION CIRCUIT/SUPERIOR COURTS

RETURN OF SERVICE OF SUMMONS BY MAIL: I hereby certify that service of summons with return receipt requested
was mailed on the day of            , 2020, and that a copy of the return of receipt was received by me on the
          day of         , 2020, which copy is attached herewith.


                                                                           CLERK, MARION CIRCUIT/SUPERIOR COURTS

CERTIFICATE OF CLERK OF SUMMONS NOT ACCEPTED BY MAIL: I hereby certify that on the _day of
_, 2020, I mailed a copy of this summons and a copy of the complaint to the defendants) by (registered or certified) mail, and
the same was returned without acceptance this _day of               , 2020, and I did deliver said summons and a copy of the
complaint to the Sheriff of MARION County, Indiana.

          Dated this _ day of                 , 2020.


                                                                           CLERK, MARION CIRCUIT/SUPERIOR COURTS

RET[JRN OF SUMMONS: This summons came to hand on the _day of                            , 2020, and I served the same on the _day
of    , 2020.
      1.      By mailing a copy of the summons and complaint personally to                     address

                   By delivering a copy of summons and complaint personally to
                   By leaving a copy of the summons and complaint at                                   th e dwelling house or
                   usual place of abode of defendant:                                   (Nam e of Person) and by mailing by first
                   class mail a copy of the summons on the _day of                  , 2020 to                         his last
                   known address.
                   By serving his agent as provided by rule, statute or valid agreement to-wit:

                   Defendant cannot be found in my bailwick and summons was not served.

          And I now return this writ this _ day of            , 2020.


                                                                           SHERIFF or DEPUTY

RETURN ON SERVICE OF SUMMONS: I hereby certify that I have served the within summons:

          1.       By delivery on the _day of                   , 2020 a copy of this summons and a copy of the complaint to each
                   of the within named defendants)
          2.       By leaving on the _ day of                    , 2020 for each of the within named defendants)
                                               a c opy of the summons and a copy of the complaint at the respective dwelling
                   house or usual place of abode with                                a p erson of suitable age and discretion residing
                   therein whose usual duties or activities include prompt communication of such information to the person
                   served.
          3,                                                                                       an d by mailing a copy of the
                   summons without the complaint to                                                at
                           the last known address of defendant(s).
          All done in MARION County, Indiana.
Fccs: $
                                                                  SHERIFF or DEPUTY
    Case 1:21-cv-00072-RLY-MJD
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                                                                                    14 ~:ss F
      —,
           POST/JL SERVICE.                                                                      Marion County, Ind ae




Mailer: Ken Nunn Law Office

Date Produced: 07/27/2020

ConnectSuite Inc.:

The following is the delivery information for Certified MaiIT"^/RRE item number 9214 8901 9403 8316
8962 76. Our records indicate that this item was delivered on 07/23/2020 at 09:58 a.m. in
INDIANAPOLIS, IN 46202. Th - - n- --'Kna e a                ci ient information is rovid~d below.
                                                                                       ~,
Signature of Recipient :                   ~                                       ~~
                                                                                  "~    .
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Address of Recipient :            ~- - ~ --~ ~   - -----,--




Thank you for selecting the Postal Service for your mailing needs. If you require additional assistance,
please contact your local post office or Postal Service representative.

Sincerely,
United States Postal Service

The customer reference number shown below is not validated or endorsed by the United States Postal
Service. It is solely for customer use.


This USPS proof of delivery is linked to the customers mail piece information on file
as shown below:
 SAM'S EAST INC C/O CT CORPORATION SYSTEM
 334 N SENATE AVE
 INDIANAPOLIS IN 46204-1708




Customer Reference Number:            02171113.12358244
Return Reference Number:               Janice Walters
   Case 1:21-cv-00072-RLY-MJD Document 1-2 Filed 01/12/21 Page 10 of 31 PageID #: 15
USPS MAIL PIECE TRACKING NUMBER: 420462049214890194038316896276
MAILING DATE:     07/20/2020
DELIVERED DATE: 07/23/2020
CUSTOM1:

MAIL PIECE DELIVERY INFORMATION:
 SAM'S EAST INC C/O CT CORPORATION SYSTEM
 334 N SENATE AVE
 INDIANAPOLIS IN 46204-1708



MAIL PIECE TRACKING EVENTS:
 07/20/2020 11:52     PRE-SHIPMENT INFO SENT USPS AWAITS ITEM      BLOOMINGTON,IN 47404
 07/21/2020 21:36     ORIGIN ACCEPTANCE                            BLOOMINGTON,IN 47404
 07/21/202p 22:51     PROCESSED THROUGH USPS FACILITY              INDIANAPOLIS,IN 46206
 07/22/2020 02:34     PROCESSED THROUGH USPS FACILITY              INDIANAPOLIS,IN 46206
 07/23/2020 06:32     ARRIVAL AT UNIT                              INDIANAPOLIS,IN 46204
 07/23/2020 07:10     OUT FOR DELIVERY                             INDIANAPOLIS,IN 46204
 07/23/2020 09:58     DELIVERED INDIVIDUAL PICKED UP AT USPS       INDIANAPOLIS,IN 46202
Case 1:21-cv-00072-RLY-MJD Document 1-2 Filed 01/12/21 Page 11 of 31 PageID
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                                                                                             Marion County, Indiai




                     IN THE MARION COUNTY SUPERIOR COURT
                               STATE OF INDIANA


 JANICE WALTERS,                                        CAUSE NO. 49D13-2007-CT-023665

                       Plaintiff,

        ►~~

 JOHN DOE and SAM'S EAST, INC
 d/b/a Sam's Club,

                       Defendants.

              E-FILING APPEARANCE BY ATTORNEYS IN CIVIL CASE

This Appearance Form must be filed on behalf of every party in a civil case.

   1. The party on whose behalf this form is being filed is:

       Initiating              Responding X           Intervening        ;and

       the undersigned attorney and all attorneys listed on this form now appear in this case for
       the following parties:

       Name of Party: Sam's East, Inc. d/b/a Sam's Club

   2. Attorney information for service as required by Trial Rule 5(B)(2):

        Name:       Thomas L. Davis                                 Attorney Number:      #4423-49
                    FROST BROWN TODD LLC                            Phone:                (317) 237-3800
        Address:    201 North Illinois Street, Suite 1900           FAX:                  (317) 237-3900
                    P.O. Box 44961                                  Email:                tdavis@fbtlaw.com
                    Indianapolis, IN 46244-0961

IMPORTANT: Each attorney specified on this appearance:

       (a)      certifies that the contact information listed for him/her on the Indiana Supreme
                Court Roll of Attorneys is current and accurate as of the date of this
                Appearance;
       (b)      acknowledges that all orders, opinions, and notices from the court in this
                matter that are served under Trial Rule 86(G) will be sent to the attorney at
                the email addresses) specified by the attorney on the Roll of Attorneys
                regardless of the contact information listed above for the attorney; and
       (c)      understands that he/she is solely responsible for keeping his/her Roll of
                Attorneys contact information current and accurate, see Ind. Admis. Disc. R.
Case 1:21-cv-00072-RLY-MJD Document 1-2 Filed 01/12/21 Page 12 of 31 PageID #: 17




                2(A).

   3. This is a CT case type as defined in administrative Rule 8(B)(3).

   4. This case involves child support issues. Yes          No X

   5. This case involves a protection from abuse order, a workplace violence restraining order,
      or a no —contact order. Yes        No X

   6. This case involves a petition for involuntary commitment. Yes           No X

   7. There are related cases. Yes        No X

   8. Additional information required by local rule: None

   9. There are other party members: Yes             No X

   10. This form has been served on all other parties and Certificate of Service is attached:

      Yes X No

                                             Respectfully submitted,

                                             /s/ Thomas L. Davis
                                             Thomas L. Davis, #4423-49
                                             Frost Brown Todd LLC
                                             201 N. Illinois Street
                                             Suite 1900, P.O. Box 44961
                                             Indianapolis, IN 46244-0961
                                             T: (317) 237-3800
                                             F: (317) 237-3900
                                             tdavis@fbtlaw.com

                                             Attorneysfor Defendant Sam 's East, Inc. d/b/a Sam 's
                                             Club




                                                 2
Case 1:21-cv-00072-RLY-MJD Document 1-2 Filed 01/12/21 Page 13 of 31 PageID #: 18




                                   CERTIFICATE OF SERVICE

         I hereby certify that on this 14th day of August, 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to the following parties by operation of the Court's

electronic filing system. Parties may access this filing through the Court's system:

Daniel Gore
Ken Nunn Law Office
Email: dgore@kennunn.com




                                                       /s/ Thomas L. Davis
                                                       Thomas L. Davis




FROST BROWN TODD LLC
201 North Illinois Street, Suite 1900
P.O. Box 44961
Indianapolis, IN 46244-0961
Phone: (317) 237-3800
Fax: (317) 237-3900
tdavis@fbtlaw.com




LR08000.0734708 4843-2582-8039v1




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Case 1:21-cv-00072-RLY-MJD Document 1-2 Filed 01/12/21 Page 14 of 31 PageID
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                                                                                            Marion County, Indiai




                      IN THE MARION COUNTY SUPERIOR COURT
                                STATE OF INDIANA


 JANICE WALTERS,                                         CAUSE NO.49D13-2007-CT-023665

                        Plaintiff,

        v.

 JOHN DOE and SAM'S EAST, INC.
 d/b/a Sam's Club,

                        Defendants.

                DEFENDANT'S ANSWER TO PLAINTIFF'S COMPLAINT

       Comes now the defendant, Sam's East, Inc. d/b/a Sam's Club, by counsel, for its Answer

to plaintiffs Complaint, states:

       1.      Defendant is without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in paragraph 1 of plaintiff's Complaint.

       2.      Defendant is without sufficient information or knowledge to form a belief as to the

truth of the allegations contained in paragraph 2 of plaintiff's Complaint.

       3.      Defendant denies truth of the allegations contained in paragraph 3 of plaintiff's

Complaint.

       4.      Defendant denies truth of the allegations contained in paragraph 4 of plaintiff's

Complaint.



       5.      Defendant denies truth of the allegations contained in paragraph 5 of plaintiffs

Complaint.
Case 1:21-cv-00072-RLY-MJD Document 1-2 Filed 01/12/21 Page 15 of 31 PageID #: 20




        WHEREFORE, defendant prays that plaintiff take nothing by way of her Complaint, for

judgment in its favor and against plaintiff, for costs and for all other just and proper relief in the

premises.

                                                  Respectfully submitted,

                                                  FROST BROWN TODD LLC

                                                  By: /s/ Thomas L. Davis
                                                      Thomas L. Davis, #4423-49
                                                      Attorneys for Defendant Sam's East, Inc.
                                                      d/b/a Sam's Club


                                   AFFIRMATIVE DEFENSES

                The fault of plaintiff Janice Walters caused or contributed to cause the incident in

question and resulting damages.

        2.      Defendant reserves the right to assert additional affirmative defenses disclosed

during discovery.

        WHEREFORE, defendant prays that plaintiff take nothing by way of her Complaint, for

judgment in its favor and against plaintiff, for costs and for all other just and proper relief in the

premises.

                                                  Respectfully submitted,

                                                  FROST BROWN TODD LLC

                                                  By: /s/ Thomas L. Davis
                                                      Thomas L. Davis, #4423-49
                                                      Attorneys for Defendant Sam's East, Inc.
                                                      d/b/a Sam's Club




                                                   2
Case 1:21-cv-00072-RLY-MJD Document 1-2 Filed 01/12/21 Page 16 of 31 PageID #: 21




                                     REQUEST FOR JURY TRIAL

         Comes now defendant Sam's East, Inc. d/b/a Sam's Club, by counsel, and requests trial

 by jury in this matter.


                                                  Respectfully submitted,

                                                  FROST BROWN TODD LLC

                                                  By: /s/ Thomas L. Davis
                                                      Thomas L. Davis, #4423-49
                                                      Attorneys for Defendant Sam's East, Inc.
                                                      d/b/a Sam's Club


                                     CERTIFICATE OF SERVICE

         I hereby certify that on this 14th day of August, 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to the following parties by operation of the Court's

electronic filing system. Parties may access this filing through the Court's system:

  Daniel Gore
  Ken Nunn Law Office
  Cmail: dgore@kennunn.com


                                                       /s/ Thomas L. Davis
                                                       Thomas L. Davis

FROST BROWN TODD LLC
201 North Illinois Street, Suite 1900
P.O. Box 44961
Indianapolis, IN 46244-0961
Phone: (317) 237-3800
Fax: (317) 237-3900
tdavis@fbtlaw.com

LR08000.0734708 4836-7879-l l llvl




                                                   3
Case 1:21-cv-00072-RLY-MJD Document 1-2 Filed 01/12/21 Page 17 of 31 PageID #: 22




STATC OF INDIANA                )                       IN THE MARION SUPERIOR COURT
                                    SS:
COUNTY OF MARION                )                       CAUSE NO. 49D13-2007-CT-023665

JANICE WALTERS,

                Plaintiff,

        v.

SAM'S EAST, 1NC., d/b/a SAM'S CLUB,

                Defendant.


  ORDER TO CONFER AND TENDER PROPOSED CASE MANAGEMENT ORDER

        The Court ORDERS the parties to confer regarding pretrial deadlines, then jointly tender,

within 45 days of this Order, a proposed case management order for Court approval. The parties

should state (1) the date this matter will be ready for trial; (2) whether the trial will be to the

Court or to a jury; and (3) the expected duration of trial.



ENTERED:        August 17, 2~2~
                                                           es A. Joven, Judge
                                                        Marion Superior Court, Civi       ivision 13


DISTRIBUTION:
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                                                                                                Marion County, Indiai




                      IN THE MARION COUNTY SUPERIOR COURT
                                S1ATE OF INDIANA


JANICE WALTERS,                                            CAUSE NO. 49D 13-2007-CT-023665

                       Plaintiff,

       v.

JOHN DOE and SAM'S EAST, INC.
d/b/a Sam's Club,

                       Defendants.


            PLAINTIF'F'S PRELIMINARY LIST OF WITNESSES AND EXHIBITS


WITNESSES:

1.     Plaintiff, Janice Walters

2.     Defendant, John Doe

3.     Defendant, Sam's East, Inc, d/b/a Sam's Club

4.     Eyewitness, Jean Ann Walters

5.     All treating physicians, Riverview Hospital, P.O. Box 220, Noblesville, IN 46061

6.     All treating physicians, Riverview Health Physicians Ortho &Sports Medicine, 14535 Hazel
       Dell Pkwy, Bldg A, Carmel, IN 46033

7.     All treating physicians, Northwest Radiology Network, 13587 Collections Center Drive,
       Chicago, IL 60693-0135

8.    All treating physicians, ATI Physical Therapy, 14660 Herriman Blvd., Ste. 300, Noblesville,
      IN 46060

9.     All doctors that plaintiff has seen for injuries.

1Q.    Representatives) of Plaintiffs' health insurers, Medicare, regarding health insurance
       premiums and negotiated and/or contracted discounts between the insurer and Plaintiffs
       medical providers.
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                                                  2
 11.    Various lay witnesses, to be named later, will testify to the plaintiffs physical abilities before
        and/or after the incident.

 12.    All witnesses listed by defendant.

13.     Additional witnesses may be listed by plaintiffs after discovery has been completed and prior
        to any deadlines set by the Court.

14.     Plaintiff reserves the right to call rebuttal witnesses.

EXHIBITS:


        Diagram of scene of incident.

2.      Medical records.

3.      Medical bills.

4.      X-rays or other results of diagnostic tests.

5.      Medical encyclopedia andlor dictionary.

6.      Physician's Desk Reference.

7.      DSM-5, AMA Guides to the Evaluation of Permanent Impairment, Sixth Edition, or other
        learned treatises.

8.      Photographs or other depictions.

9.      Video relating to this cause.

 1 U.   Life expectancy tables.

11,     Video depictions/animations/stills of medical treatments and/or surgery performed or to be
        performed including but not limited to anatomical depictions of the human body andlor
        instrumentalities used or to be used in such treatments.

12.     Animation depicting how the incident occurred or an expert's opinion on how the incident
        occurred or might have occurred or similarly including but not limited to instrumentalities
        and persons and locations involved in the incident.

13.     Demonstrative aids and/or exemplars, including but not limited to photographs, website
        materials, Facebook or other social media items, Google Earth maps and street views or other
        computer assisted GPS location programs depicting locations, Google search results,
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                                                 3
      Amazon items for general sale, anatomical illustrations, PowerPoint slides, YouTube videos
      of mechanism of injury and/or medical treatments and surgeries for conditions, animations,
      websites, search engine results, musical overlays, reproductions or other representative
      illustrations, diagrams, drawings or depictions of scenes, people or things involved in this
      incident and any combination or modification of the above.

14.   All exhibits listed by defendant

15.   Additional exhibits may be listed by plainriffs upon completion of discovery and prior to any
      deadlines set by the Court

16.   Any and all documents or other materials utilized by any expert retained by defendant and/or
      plainriff to testify in this cause of action.

17.   Any and all documents attached and/or referenced in defendant's discovery responses.


                                                   Respectfully submitted,
                                                   KEN NUNN LAW OFFICE


                                            BY;     /s/Daniel Gore
                                                    Daniel Gore, #31322-53
                                                    ATTORNEY FOR PLAINTIFF

Daniel Gore, #31322-53
Attorney for Plaintiff
Ken Nunn Law Office
104 South Franklin Road
Bloomington, IN 47404
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on the 24th day of September, 2020 a copy of this document was
filed electronically. Service of this filing will be made on all registered counsel by operation of
the Court's electronic filing system or by mail should counsel not be registered.


Thomas L. Davis
Frost Brown Todd
201 North Illinois Street, Suite 1900
P.O. Box 44961
Indianapolis, IN 46244-0961


                                                     Respectfully submitted,
                                                     KEN NUNN LAW OFFICE


                                              BY:    /s/Daniel Gore
                                                     Daniel Gore, #31322-53
                                                     ATTORNEY FOR PLAINTIFF

Daniel Gore, #31322-53
Attorney for Plaintiff
Ken Nunn Law Office
104 South Franklin Road
Bloomington, IN 47404
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                    IN THE MARION COUNTY SUPERIOR COURT
                              STATE OF INDIANA


JANICE WALTERS,                                         CAUSE NO.49D 13-2007-CT-023665

                     Plaintiff,

      v.

JOHN DOE and SAM'S EAST, INC.
d/b/a Sam's Club,

                     Defendants.

                      PROPOSED CASE MANAGEMENT ORDER

I.    Parties and Representatives

      A.     Plaintiff:      Janice Walters

             Defendants:     John Doe and Sam's East, Inc. d/b/a Sam's Club

      B.     Plaintiffs Counsel:              Daniel Gore, #31322-53
                                              KEN NUNN LAW OFFICE
                                              104 Franklin Road
                                              Bloomington, IN 47404
                                              812-332-9451
                                              Fax: 812-331-5321
                                              Email: dgore@kennunn.com

             Defendant Sam's East, Inc.
             d/b/a Sam's Club Counsel: Thomas L. Davis, #4423-49
                                        FROST BROWN TODD LLC
                                        20l North Illinois Street, Suite 1900
                                        P. O. Box 44961
                                        Indianapolis, IN 46244-0961
                                        317-237-3800
                                        Fax:317-237-3900
                                        Email: tdavis@fbtlaw.com

      Counsel shall promptly file a notice with the Clerk if there is any change in this
      information.
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II.    Sepsis of Case

       A.     Plaintiff's Claim: On March 3, 2020, the plaintiff Janice Walters, was an invitee
              of the defendant Sam's East, Inc. d/b/a Sam's Club located in Indianapolis,
              Marion County, Indiana, and sustained injuries as the result of a trip and fall.

       C.     Defendant's' Claim: The defendant Sam's East, Inc. d/b/a Sam's Club denies that
              it or its associates were negligent and contends that plaintiff's fault caused or
              contributed to cause the incident and her injuries and contests the nature and
              extent of plaintiffs injuries and their relation to the incident in question.

III.   Pretrial Pleadings and Disclosures

       A.    Plaintiff shall ale preliminary witness and exhibit lists on or before October 1,
       2020.

       B.    Defendant shall file preliminary witness and exhibit lists on or before October 8,
       2020.

       C.      All motions for leave to amend the pleadings and/or to join additional parties shall
       be filed on or before November 16, 2020.

       D.     Plaintiff shall disclose the name, address, and vita of any expert witness on or
       before March 19, 2021. Defendant shall disclose the name, address, and vita of any
       expert witness on or before May 3, 2021.

       E.    All parties shall file and serve their final witness and exhibit lists on or before
       June 15, 2021.

       F.     Any party who believes that bifurcation of discovery and/or trial is appropriate
       with respect to any issue or claim shall notify the Court as soon as practicable.




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IV.     Discovery) and Dispositive Motions

        Dispositive motions are not anticipated. All discovery shall be completed by July 30,
2021.

        Absent leave of court, and for food cause shown, all issues raised on summar~jud~ment
        under Indiana Rules of Trial Procedure Rule 56 must be raised by a party in a single
        motion.

V.      Mediation

        Parties must submit to mediation pursuant to LR 49 ADR 2 Rules 209 and 211, including
        but not limited to the submission of a written report from the mediator, no later than 3
        months before the date of trial, unless excused by Court Order.

VI.     Trial Date

        The parties request trial, by jury, after September 14, 2021 which is anticipated to take
two to three days.

VII.    Required Pre-Trial Preparation

        A.     TWO WEEKS BEFORE THE FINAL PRETRIAL CONFERENCE, the
        parties shall:

                       File a list of witnesses who are expected to be called to testify at trial.

               2.     Number in sequential order all e~chibits, including graphs, charts and the
                      like, that will be used during the trial. Provide the Court with a list of
                      these exhibits, including a description of each exhibit and the identifying
                      designation. Make the original exhibits available for inspection by
                      opposing counsel. Stipulations as to the authenticity and admissibility of
                      exhibits are encouraged to the greatest extent possible.




        'The term "completed," as used in Section IV.B, means that counsel must serve their
discovery requests in sufficient time to receive responses before this deadline. Counsel may not
serve discovery requests within the 30-day period before this deadline unless they seek leave of
Court to serve a belated request and show good cause for the same. In such event, the proposed
belated discovery request shall be filed with the motion, and the opposing party will receive it
with service of the motion but need not respond to the same until such time as the Court grants
the motion,

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            3.    Submit all stipulations of facts in writing to the Court. Stipulations are
                  always encouraged so that at trial, counsel can concentrate on relevant
                  contested facts.

            4.    A party who intends to offer any depositions into evidence during the
                  party's case in chief shall prepare and file with the Court and copy to all
                  opposing parties either:

                  a.      brief written summaries of the relevant facts in the depositions that
                          will be offered. (Because such a summary will be used in lieu of
                          the actual deposition testimony to eliminate time reading
                          depositions in a question and answer format, this is strongly
                          encouraged.); or

                  b.      if a summary is inappropriate, a document which lists the portions
                          of the deposition(s), including the specific page and line numbers,
                          that will be read, or, in the event of a video-taped deposition, the
                          portions of the deposition that will be played, designated
                          specifically by counter-numbers.

            5.    Provide all other parties and the Court with any trial briefs and motions in
                  limine, along with all proposed jury instructions. (Parties should not
                  submit the following Model Civil Jury Instructions because the Court will
                  always include them: 101, 103, 105, 107, 111, 115, 117, 119, 121, 123,
                  and 305).

            6.    Notify the Court and opposing counsel of the anticipated use of any
                  evidence presentation equipment.

      B.     ONE WEEK BEFORE THE FINAL PRETRIAL CONFERENCE, the
      parties shall:

                  Notify opposing counsel in writing of any objections to the proposed
                  exhibits. If the parties desire a ruling on the objection prior to trial, a
                  motion should be filed noting the objection and a description and
                  designation of the exhibit, the basis of the objection, and the legal
                  authorities supporting the objection.

            2.    if a party has an objection to the deposition summary or to a designated
                  portion of a deposition that will be offered at trial, or if a party intends to
                  offer additional portions at trial in response to the opponent's designation,
                  and the parties desire a ruling on the objection prior to trial, the party shall
                  submit the objections and counter summaries or designations to the Court
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                      in writing. Any objections shall be made in the same manner as for
                      proposed exhibits. However, in the case of objections to video-taped
                      depositions, the objections shall be brought to the Court's immediate
                      attention to allow adequate time for editing of the deposition prior to trial.

               3.     File objections to any motions in limine and proposed instructions
                      submitted by the opposing parties.

               4.     Notify the Court and opposing counsel of requests for separation of
                      witnesses at trial.

IX.    Other Matters

       None.

                                                      KEN NUNN LAW OFFICE

                                             By              ls/ Daniel Gore
                                                      Daniel Gore, #31322-53
                                                      Attorney for Plaintiff

104 Franklin Road
Bloomington, IN 47404
                                             FROST BROWN TODD LLC

                                             By:              is/Thomas L. Davis
                                                   Thomas L. Davis, #4423-49
                                                   Attorneys for Defendant Sam's East, Inc.
                                                      d/b/a Sam's Club
201 North Illinois Street, Suite 1900
P. O. Box 44961
Indianapolis, IN 46244-0961
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             PARTIES APPEARED 1N PERSON/BY COUNSEL ON                   FOR A
             PRETRIAL/STATUS CONFERENCE.
    v"
             APPROVED AS SUBMITTED.

             APPROVED AS AMENDED.

             APPROVED AS AMENDED PER SEPARATE ORDER.

             APPROVED, BUT ALL OF THE FOREGOING DEADLINES ARE
             SHORTENED/LENGTHENED BY               MONTHS.


             APPROVED, BUT THE DEADLINES SET IN SECTIONS)
                          OF THE PLAN IS/ARE SHORTENED/LENGTHENED BY
                         MONTHS.


             THIS MATTER IS SET FOR TRIAL BY       Jury     ON
    `'          November 1, 2021        .FINAL PRETRIAL CONFERENCE IS
             SCHEDULED FOR          October 13, 2021         AT 9:30AM.,
             ROOM T-1442             3rd Choice


             A SETTLEMENT/STATUS CONFERENCE IS SET IN THIS CASE FOR
                              AT       .M. COUNSEL SHALL APPEAR:

                                      IN PERSON IN ROOM          ; OR

                                     BY TELEPHONE, WITH COUNSEL FOR
                        INITIATING THE CALL TO ALL OTHER PARTIES AND
                        ADDING THE COURT NDGE AT (      )
                                         ;OR

                                    BY TELEPHONE, WITH COUNSEL
                        CALLING THE JUDGE'S STAFF AT (  )



             DISPOSITIVE MOTIONS SHALL BE FILED NO LATER THAN
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         Upon approval, this Plan constitutes an Order of the Court. Failure to comply with an
Order of the Court may result in sanctions for contempt, or as provided under Fed. R. Civ. P. 16-
1(f~, to and including dismissal or default.

        Approved and So Ordered.




 September 28, 2020
Date


Distribution To:

Daniel Gore
KEN NUNN LAW OFFICE
Email: dgore@kennunn.com

Thomas L. Davis
FROST BROWN TODD LLC
Email: tdavis@fbtlaw.com

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                                STATE OF INDIANA
                      IN THE MARION COUNTY SUPERIOR COURT


JANICE WALTERS,                                         CAUSE NO.49D13-2007-CT-023665

                       Plaintiff,

        v.

JOHN DOE and SAM'S EAST, INC.
d/b/a Sam's Club,

                       Defendants.

             DEFENDANT'S PRELIMINARY WITNESS AND EXHIBIT LISTS

       Comes now defendant Sam's East, Inc. d/b/a Sam's Club, by counsel, and pursuant to the

Case Management Order approved on September 24, 2020, submits their preliminary list of

witnesses and exhibits:

                                            WITNESSES

        1.     Janice Walters, Plaintiff.

        2.     Jean Walters.

       3.      Member of Management, Sam's Club #8168, Indianapolis, Indiana.

        4.     Sierra Purlee, Sam's Club.

        5.     Dwayne Thompson, Sam's Club.

       6.      All physicians, surgeons, or other medical practitioners who have treated, examined

or consulted regarding plaintiff Janice Walters.

       7.      Physician retained to conduct an independent medical examination.

       8.      All witnesses necessary for impeachment or rebuttal.

                                            EXHIBITS

       1.      Photographs and videos of the incident scene.
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      2.     Defendant's accident/incident report.

             Plaintiff"s medical records.

      4.     Plaintiff's medical bills.

             All documents produced in this case.

      6.     All exhibits listed by plaintiff

      7.     All exhibits necessary for impeachment or rebuttal.

      Exhibits subsequently discovered will be disclosed to the Court and opposing counsel.

                                                Respectfully submitted,

                                                FROST BROWN TODD LLC

                                                By: /s/Thomas L. Davis
                                                    Thomas L. Davis, #4423-49
                                                    Attorneys for Defendant




                                                2
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on this 8~' day of October, 2020, a copy of the foregoing was filed

electronically. Notice of this filing will be sent to the following parties by operation of the

Court's electronic filing system. Parties may access this filing through the Court's system:

Daniel Gore
Ken Nunn Law Office
Email: dgore@kennunn.com



                                                     /s/ Thomas L. Davis
                                                     Thomas L. Davis

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